Case 8:22-ml-03052-JVS-KES        Document 680 Filed 11/21/24    Page 1 of 3 Page ID
                                       #:19625



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  6
      Chair of the Governmental Entities Committee
  7
  8
                            UNITED STATES DISTRICT COURT
  9
                           CENTRAL DISTRICT OF CALIFORNIA
 10
 11
    In re: KIA HYUNDAI VEHICLE                   Case No. 8:22-ML-3052-JVS(KESx)
 12 THEFT MARKETING, SALES
    PRACTICES, AND PRODUCTS
 13 LIABILITY LITIGATION                         The Honorable James V. Selna

 14
 15                                              NOTICE OF LODGING OF
                                                 DISCOVERY SPECIAL MASTER’S
 16                                              STATUS REPORT NO. 4
      This document relates to:
 17
      Governmental Entities Track
 18
 19
               Governmental Entity Plaintiffs, by and through undersigned counsel, hereby
 20
      give Notice of Lodging of Discovery Special Master’s Status Report No. 4 to the
 21
      Court.
 22
 23
      Dated this 21st day of November, 2024.
 24
                                             Respectfully submitted,
 25
 26                                          By /s/ Gretchen Freeman Cappio
                                             Gretchen Freeman Cappio (pro hac vice)
 27
                                             KELLER ROHRBACK L.L.P.
 28

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                                        NOTICE OF LODGING
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                                  #:19626



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                                          -2-              Case No. 8:22-ML-3052-JVS(KESx)
                                   NOTICE OF LODGING
Case 8:22-ml-03052-JVS-KES        Document 680 Filed 11/21/24       Page 3 of 3 Page ID
                                       #:19627



  1                               CERTIFICATE OF SERVICE
  2            I certify that on November 21, 2024, I electronically filed the foregoing
  3 document with the Clerk of the Court using the CM/ECF system which will send
  4 notification of such filing to all counsel of record.
  5
  6                                            /s/ Gretchen Freeman Cappio
                                               GRETCHEN FREEMAN CAPPIO
  7   4875-5569-0494, v. 1

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                                                  -3-              Case No. 8:22-ML-3052-JVS(KESx)
                                          NOTICE OF LODGING
